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                 Exhibit 9
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                               CINCINNATI DIVISION

____________________________________
                                     )
HUNTER DOSTER, et al.,               )
                                     )
            Plaintiffs,              )
                                     )
            v.                       )              No. 1:22-cv-00084
                                     )
FRANK KENDALL, et al.,               )
                                     )
            Defendants.              )
____________________________________ )

                      DECLARATION OF COLONEL TONYA RANS

        I, Colonel Tonya Rans, hereby state and declare as follows:

        1.     I am currently employed by the U.S. Air Force as the Chief, Immunization

Healthcare Division, Defense Health Agency – Public Health Directorate, located in Falls Church,

Virginia. I have held the position since June 2017. I am a medical doctor and have been board

certified in Allergy/Immunology since 2008 and was a board certified Pediatrician from 2001-

2015.

        2.     In my current role, my responsibilities include directing a responsive, evidence-

based, patient-centered organization promoting optimal immunization healthcare for all DoD

beneficiaries and those authorized to receive immunization from DoD. This includes assisting in

policy development, providing implementation guidance and education, and engaging in clinical

studies and research through clinical collaboration. The Defense Health Agency-Immunization

Healthcare Division (DHA-IHD) routinely engages with the medical representatives from the

military departments, U.S. Coast Guard, Joint Staff, Combatant Commands, and others to develop
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standardized immunization implementation guidance in accordance with published policy for

consistency across DoD where possible.

        3.      I am aware of the allegations set forth in the pleadings filed in this matter. This

declaration is based on my personal knowledge, as well as information made available to me during

the routine execution of my official duties.

                             Coronavirus Disease 2019 (COVID-19)

        4.      As part of my official duties, I served as a member of the COVID-19 Vaccine

Distribution Operational Planning Team (OPT), which was directed to develop and implement

DoD’s COVID-19 Vaccine Distribution plan. The Coronavirus Task Force (CVTF) provided

overarching guidance to the OPT. The OPT provided routine and ad hoc updates on COVID-19

vaccine deliveries, administration, and adverse events to the CVTF.

        5.      The virus that causes COVID-19 disease is SARS-CoV-2, a ribonucleic acid (RNA)

virus from the Coronavirus family. Like any RNA virus, the SARS-CoV-2 virus mutates and

evolves constantly and regularly as it infects and replicates in host cells. Mutations that are

beneficial to the virus (i.e., make the virus more easily spread between hosts, evade the immune

system) are integrated into the viral genome, thereby increasing “survival” and replication

opportunity. This has been seen with the SARS-CoV-2 “Delta” variant, which is twice as

contagious as previous variants. 1 However, not all mutations are beneficial to the virus – some

can result in virus death and therefore do not infect the host. This is part of the normal biology

cycle of all viruses.




1
 https://www.yalemedicine.org/news/5-things-to-know-delta-variant-covid, last accessedMarch
4, 2022.


                                                 2
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         6.     The latest reports from the U.S. Centers for Disease Control and Prevention (CDC)

indicate that the SARS-CoV-2 virus spreads when an infected person breathes out droplets and

very small particles that contain the virus. 2 These droplets and particles can be inhaled by other

people or land on their eyes, noses, or mouth. In some circumstances, viral particles may

contaminate surfaces. People who are closer than 6 feet from the infected person are most likely

to get infected, especially in areas where there is poor ventilation.

         7.     COVID-19 disease can cause acute symptoms such as fever/chills, cough, shortness

of breath, fatigue, muscle aches, headache, nausea, vomiting, diarrhea, loss of sense of smell or

taste and/or sore throat. Symptoms appear 2-14 days (usually within 4-5 days) after viral

exposure. 3 The infection can affect people in different ways: from asymptomatic, to limited and

mild (for 2-3 days) to more severe (such as trouble breathing, chest pain, inability to think straight

and inability to stay awake). Even with the availability of aggressive medical management and

ventilator support in an intensive care setting for those with severe symptoms, hundreds of

thousands with COVID-19 disease have died. As of March 2, 2022, CDC reports that over 78

million individuals in the U.S. have been diagnosed with COVID-19 disease, over 4.5 million have

been hospitalized, and over 952,000 have died (approximately 1 in 500 in the total U.S. population

of 330 million). 4    Per the CDC, the elderly and those with underlying medical history of

cardiovascular disease, diabetes, chronic respiratory disease, smoking, being overweight or obese,




2
    https://www.cdc.gov/coronavirus/2019-ncov/faq.html, last accessed March 4, 2022.
3
 https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html, last accessed
March 4, 2022.
4
 https://www.cdc.gov/coronavirus/2019-ncov/covid-data/covidview/index.html, last accessed
March 4, 2022.



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pregnancy, immunocompromising conditions, or cancer are more likely to develop serious illness. 5

However, it is a misguided belief that those who are otherwise young and healthy could not

develop severe, or even fatal, disease. During the acute infectious stage, the virus causes

inflammatory cell death, resulting in the release of pro-inflammatory cytokines (proteins which

are important in cell signaling). Pro-inflammatory cytokines can cause inflammatory cell death

within multiple organs.     Cell death releases cellular and viral fragments, which results in

production and release of more inflammatory cytokines. 6 Disease progression can be curtailed by

controlling the inflammatory process through immune system clearing of the virus. However, as

depicted in the figure below, if the immune system is overwhelmed, either by viral immune evasive

mechanisms or by an impaired host response, the pro-inflammatory cytokine process may continue

unabated, causing increasingly severe disease such as acute respiratory distress syndrome and

cytokine storm. Recognition of the viral and hyperinflammatory phases informs treatment

strategies for those with COVID-19 disease, including, but not limited to anti-SARS-CoV-2

monoclonal    antibodies,   and   effective   pooled   antibodies    (convalescent   plasma)    for

prevention/mitigation and antivirals for treatment in the viral phase, and targeted immunobiologics

and systemic steroids for those in the hyper-inflammatory phase. 7




5
 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html, last accessed March 4, 2022.
6
 Bordallo B, et al. Severe COVID-19: What Have We Learned With the
Immunopathogenesis? Adv Rheumatol (2020) 60(1):50. doi: 10.1186/s42358-020-00151-7.
7
 https://www.covid19treatmentguidelines.nih.gov/management/clinical-management/, last
accessed March 5, 2022.


                                                4
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       8.      Treatment for COVID-19 disease, even in the outpatient environment, is not

without risks. The strongest recommendation for pre-exposure to COVID-19 disease remains

vaccination, with highest level of evidence demonstrated through robust randomized control

trials. 8 Although anti-SARS-CoV-2 monoclonal antibody combinations may be prescribed in the

outpatient setting, the indication and level of evidence in use differs when considering pre-

exposure prophylaxis, post-exposure prophylaxis, or treatment. Additionally, effectiveness of

monoclonal antibodies is impacted by the variant in the infected person. Currently, few treatments

are effective against the omicron variant, resulting in inadequate supply to meet demand

nationwide. What this means to DoD is that even if otherwise healthy service members develop

COVID-19 disease, an individual’s immune system response may not be able to adequately

manage the virus, resulting in a hyperinflammatory state, with variable outcomes, depending on

the individual’s genetics, medical history, and immune response. Just as it is acknowledged that



8https://www.covid19treatmentguidelines.nih.gov/management/clinical-
management/nonhospitalized-adults--therapeutic-management// last accessed March 5, 2022.


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there have been adverse events following COVID-19 vaccine receipt, it should also be understood

that there are risks to treatment of COVID-19 disease, even in those who can be managed in the

outpatient setting. A non-exhaustive list includes cardiovascular events, liver toxicity, and drug

interactions. Further, some treatments must be administered shortly after diagnosis – within a

matter of days – in order to be effective. 9

        9.      Although most people with COVID-19 are better within weeks of illness, some

people experience post-COVID-19 conditions (aka long/long-haul COVID, Postacute Sequelae of

COVID-19 (PASC), long-term effects of COVID, or chronic COVID). Post-COVID-19

conditions include a wide range of new, returning, or ongoing health problems four or more weeks

after infection. Those who were asymptomatic during their COVID-19 infection may still develop

post-COVID-19 conditions. One systematic review assessing short and long-term rates of long-

COVID in more than 250,000 COVID-19 survivors from 57 studies with an average age of 54

years demonstrated that more than 50% of these COVID-19 survivors continued to have a broad

range of symptoms six months after resolution of the acute COVID-19 infection, of which the

most common were functional mobility impairments, respiratory abnormalities, and mental health

disorders. 10 Another study comparing outcomes in patients referred to outpatient rehabilitation

clinics after COVID-19 reported poorer general, mental, and physical health and functioning

compared with patients with no previous diagnosis of COVID-19 referred for cancer rehabilitation.

Those referred for rehabilitation following COVID-19 were more likely to be male, younger, and



9
 https://www.covid19treatmentguidelines.nih.gov/management/clinical-management/ last
accessed March 5, 2022.
10
  Groff, et al, JAMA Network Open, Short-term and Long-term Rates of Postacute Sequelae of
SARS-CoV-2 Infection, https://jamanetwork.com/journals/jamanetworkopen/fullarticle/27849
18.



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employed. 11 A study assessing clinical patterns and recovery time from COVID-19 illness in 147

international-

days, whereas 14% had symptoms of longer duration. In both groups, fatigue, dry cough, and

headache were the predominant symptoms. 12 A recent study, conducted within the Department of

Veterans Affairs, described long-term cardiovascular outcomes of 153,760 people with COVID-

19 who survived the first 30 days after infection as compared with controls 13. They provided

evidence that, beyond the first 30 days of infection, people with a history of COVID-19 exhibited

“increased risks and 12-month burdens of incident cardiovascular diseases, including

cerebrovascular disorders (i.e. stroke), dysrhythmias (abnormal heart rhythms), inflammatory

heart disease (i.e. myocarditis, pericarditis), ischemic heart disease (decreased blood flow to the

heart), heart failure, thromboembolic disease (blood clots that can break loose and occlude a blood

vessel), and other cardiac disorders. For example, among those with a history of COVID-19, there

was an 85% greater risk of pericarditis (HR, 1.85; 95% CI, 1.61-2.13) and a 438% greater risk of

myocarditis (HR, 5.38; 95% CI, 3.80-7.59) compared to controls. The authors report that the risks

were evident regardless of age, race, sex, and other cardiovascular risk factors, including obesity,

hypertension (high blood pressure), diabetes, chronic kidney disease, and hyperlipidemia (high

cholesterol); they were also evident in people without any cardiovascular disease before exposure




11
   Rogers-Brown JS, et al. CDC Morbidity and Mortality Weekly Report, Vol 70(27) 9 July 2021
https://www.cdc.gov/mmwr/volumes/70/wr/pdfs/mm7027a2-H.pdf.
12
   Hull JH, et al. Clinical patterns, recovery time and prolonged impact of COVID-19 illness in
international athletes: the UK experience. Br J Sports Med 2021;0:1-8. Doi 10.1136/bjsports-
2021-104392.
13
 Xie, Y., Xu, E., Bowe, B. et al. Long-term cardiovascular outcomes of COVID-19. Nat
Med (2022). https://doi.org/10.1038/s41591-022-01689-3


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to COVID-19, “providing evidence that these cardiovascular risks might manifest even in people

at low risk for cardiovascular disease”.

                                COVID-19 Impacts on the Force

       10.     Infectious diseases have been the single greatest threat to the health of those

involved in military operations. As the standard military unit shrinks and becomes more mobile

to rapidly respond to global threats, any decrease in personal or unit readiness can significantly

decrease operational efficiency and result in military ineffectiveness. Similar to other viruses,

SARS-CoV-2 virus can be easily transmitted to others prior to symptom development and

therefore may infect significant numbers before being identified. DoD personnel, including

service members, especially those in an operational setting (such as those working on ships,

submarines, or engaged in the operation of aircraft and vehicles; those deployed to austere

environments; or those engaged in routine field training and airborne exercises), work in

environments where duties may limit the ability to strictly comply with mitigation measures such

as wearing a face mask, avoiding crowded areas, maintaining physical distancing of at least 6 feet,

increasing indoor ventilation, maintaining good hand hygiene, and quarantining if in close contact

with a COVID-19 case. Therefore, upon exposure, these individuals may be at higher risk to be

diagnosed with COVID-19 compared to those who can robustly maintain all recommended

mitigation strategies. Further, although the elderly population and those with medical conditions

are more likely to have severe disease, otherwise healthy Service members have developed “long-

haul” COVID-19, potentially impacting their long-term ability to perform their missions. Data

presented from DoD’s COVID-19 registry has demonstrated that of 111,767 active duty service

members who had COVID-19 disease between February 1, 2020 to August 12, 2021, 37,838

(33.9%) had diagnoses for conditions requiring a healthcare visit 30-180 days following their




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illness, the most common being joint/muscle pain (15,614 or 14%) followed by chest pain/cough

(7,887 or 7.1%). In comparison, only 8.3% and 1.81%, respectively, of active duty service

members had a healthcare visit for those diagnoses 30-180 days after vaccination. All diagnoses

associated with “Long-COVID-19 Syndrome” were found to be more common after COVID-19

disease than after COVID-19 vaccination. Some service members have unfortunately succumbed

to the disease, as described further below. Service members and federal civilian employees are

the military’s most valuable asset; without a medically ready force and ready medical force, the

military mission is at high risk of failure. Recommendations from evidence-based medicine must

remain the core approach to medical readiness. These evidence-based recommendations will

continue to be updated as our understanding of the disease, complications, and impact from

vaccination continues to evolve.

       11.     Between February 2020 and January 2022, there were 350,833 new and repeat

cases of COVID-19 among active duty service members (see “Table” below). The largest

monthly peak in cases occurred in January 222, with 113,266 cases identified, followed by the

second highest peak in January 2021 with 28,416 cases identified (see “Figure” below). The

percentage of cases that were hospitalized was highest at the start of the pandemic and trended

downward through January 2021. The percentage of hospitalized cases then increased from 0.9%

in January 2021 to 2.1% in May 2021 and 2.0% in July 2021, and decreased to 0.2% in January

2022. However, this trend should be interpreted with caution due to data lags. In total, 31 active

duty service members have died from COVID-19 as of the end of January 2022. The number of

active duty service members who died from COVID-19 remained very low throughout the first

year of the pandemic, with a slight increase in the numbers of deaths occurring between

December 2020 and February 2021, and a greater increase occurring between August and




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October 2021, coinciding with the increased spread of the Delta variant. More than one-half of

the 31 deaths in active duty service members occurred between August and October 2021

(n=17). The most recently reported active duty service member death occurred in November

2021.

             Table. COVID-19 cases, hospitalizations, and deaths among active
             duty service members, February 2020 - January 2022


                         No.         No.              %                No.
                         cases       hospitalizations hospitalizations deaths
               Feb-20            7                   2          28.6            0
               Mar-20      1,150                 57              5.0            0
               Apr-20      2,126                 60              2.8            1
               May-20      1,204                 22              1.8            0
                Jun-20     6,791                 91              1.3            0
                Jul-20    11,609                176              1.5            0
               Aug-20      8,011                115              1.4            0
               Sep-20      6,119                 98              1.6            0
                Oct-20    10,058                144              1.4            1
               Nov-20     20,429                197              1.0            0
               Dec-20     22,129                215              1.0            2
                Jan-21    28,416                269              0.9            2
               Feb-21     10,984                138              1.3            5
               Mar-21      8,148                141              1.7            0
               Apr-21      8,582                146              1.7            1
               May-21      4,424                 91              2.1            0
                Jun-21     3,572                 67              1.9            0
                Jul-21    11,588                236              2.0            1




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                                  Aug-21        22,090                   379                   1.7            5
                                  Sep-21        12,446                   196                   1.6            6
                                  Oct-21         4,811                    77                   1.6            6
                                  Nov-21         4,963                    74                   1.5            1
                                   *Dec-
                                     21         27,910                   134                   0.5            0
                             *Jan-22 113,266                             200                   0.2            0

                                            *Hospitalization and death data not complete due to data lags

 Figure. COVID-19 cases among active duty service members and percentage of cases that were
                         hospitalized, March 2020 – January 2022

                                  120,000                                                                   6.0


                                  100,000                                                                   5.0




                                                                                                                  % Hospitalized (line)
                                   80,000                                                                   4.0
               No. cases (bars)




                                   60,000                                                                   3.0


                                   40,000                                                                   2.0


                                   20,000                                                                   1.0


                                       0                                                                    0.0




 Note: February 2020 is not shown due to the very small number of cases. Hospitalization data for December 2021-
                                   January 2022 not complete due to data lags



         12.                The DoD regularly updates its information concerning the number of vaccinations

provided by DoD, the vaccination of the force, and health impact of those who developed COVID-

19 infections. 14 As depicted below, data through March 2, 2022 demonstrated that of the 603,736


14
     https://www.defense.gov/Spotlights/Coronavirus-DOD-Response/, last accessedMarch 5, 2022.


                                                                         11
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COVID-19 cases within the DoD, 6,180 individuals were hospitalized and 679 have died,

including 93 military service members (service members include Active Duty, Reserves, and

National Guard personnel). In both the civilian sector and in the military, the overwhelming

majority of individuals hospitalized or who died were unvaccinated or not fully vaccinated.




       13.     The bed capacity at DoD’s military medical treatment facilities (MTFs) has

generally followed local civilian hospital utilization, with some MTFs having high admission rates

and a need to temporarily curtail medical services. Throughout the pandemic, the National Guard

has been called on extensively to provide medical support to the civilian population. During the

winter months, DoD had increasingly been deploying military doctors, nurses, paramedics and

other personnel to U.S hospitals to assist in preventing the country’s medical system from

collapsing from demand.

                                        Vaccine Impacts

       14.     Immunization is a global health and development success story, saving millions of

lives across the age spectrum annually from illness, chronic conditions, and potentially death.

Immunizations provide benefit at both the individual and community level. First, by stimulating

an active immune response, vaccinated individuals are largely protected from the disease of




                                               12
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concern. Second, when a high proportion of individuals are immune (i.e., herd immunity) human-

to-human transmission is disrupted, thereby protecting those who remain susceptible (i.e., those

who may not be able to receive a vaccine or do not mount an adequate antibody response). Disease

prevention through immunization also mitigates the need for pharmacologic treatment (antibiotics

for sepsis, etc.), reducing the risk of drug-resistant pathogen development.

           15.   A key component of primary health care, the U.S. Food and Drug Administration

(FDA) provides regulatory allowance for immunizations and has licensed vaccines for over 20

different infectious diseases. The Advisory Committee on Immunization Practices (ACIP), an

advisory committee of the CDC, develops recommendations on how to use vaccines to control

diseases in the United States. The military also maintains awareness, surveillance, and provides

guidance to DoD personnel and beneficiaries on vaccine-preventable diseases in the global setting.

           16.   According to the CDC, over 553 million doses of COVID-19 vaccine have been

given in the United States from December 14, 2020, through February 28, 2022. 15 Evidence

consistently shows that the incidence of SARS-CoV-2-associated, hospitalizations and deaths are

higher in unvaccinated than vaccinated persons. During the week ending January 29, 2022, the

rate of COVID-19 associated hospitalization was 3.8 per 100,000 in those who were fully

vaccinated with an additional or booster dose; 7.3 per 100,000 in those who were fully vaccinated

without an additional or booster dose; and 23.3 per 100,000 in those who were unvaccinated. ,

2022. 16




15
  https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/safety-of-vaccines.html, last
accessed March 5, 2022.
16
 https://covid.cdc.gov/covid-data-tracker/#covidnet-hospitalizations-vaccination, last accessed
March 5, 2022.



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According to CDC data in December 2021, unvaccinated persons 5 years of age and older had a

2.2 times greater risk of testing positive for COVID-19 and a 14 times greater risk of dying from

COVID-19 compared to fully vaccinated individuals, and unvaccinated persons 18 years of age

and older had a 3.2 times greater risk of testing positive for COVID-19 and 41 times greater risk

of dying from COVID-19 compared to fully vaccinated adults with a booster dose. 17 In January

2022,, unvaccinated adults aged 5 years and older had a 2.3 times greater risk of testing positive

for COVID-19 compared to fully vaccinated adults and a 3.2 times greater risk of testing positive

for COVID-19 compared to fully vaccinated adults with booster doses. 18




17
     https://covid.cdc.gov/covid-data-tracker/#rates-by-vaccine-status, last accessed March 5, 2022.

18   Id.


                                                  14
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                                       15
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       17.     As of March 4, 2022, DoD immunization sites have administered over 7.83 million

doses of COVID-19 vaccine. Adverse events temporally associated with vaccine administration

are centrally captured by CDC and FDA’s Vaccine Adverse Event Reporting System (VAERS)

through passive surveillance, meaning that information is voluntarily reported by health care

providers and the public. VAERS is not designed to determine whether a vaccine caused a health

issue of concern, but it is useful for detecting unexpected patterns of adverse event reporting that

might indicate a possible safety problem with a vaccine. As of February 26, 2022, a total of 8,384

unique VAERS reports (approximately 11 VAERS reports/10,000 doses administered) were

submitted by DoD beneficiaries or those authorized to receive vaccine from DoD. Note that the

number of VAERS reports/10,000 doses administered for DoD beneficiaries is likely to be lower,

as the denominator does not take into account beneficiaries who receive vaccine in the civilian

sector though DoD would still receive their VAERS report if the submitter indicated military

affiliation. Additionally, individuals who had an adverse event but did not submit a VAERS would

not be known and therefore would not be counted. It must be stressed that a VAERS submission

to the CDC does not mean that the vaccine of concern caused or contributed to the medical issue

reported.

       18.     The DoD has received hundreds of thousands of Pfizer-BioNTech BLA-

manufactured, EUA-labeled COVID-19 vaccine doses and continues to use them.

       19.     Approach to immunizations within DoD are outlined in DoD Instruction 6205.02,

“DoD Immunization Program” dated June 19, 2019, which states that it is DoD policy that all DoD

personnel and other beneficiaries required or eligible to receive immunizations will be offered

immunizations in accordance with recommendations from the CDC and its ACIP. Army

Regulation 40-562, Navy Bureau of Medicine and Surgery Instruction 6230.15B, Air Force




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Instruction 48-110_IP, Coast Guard Commandants Instruction M6230.4G, “Immunizations and

Chemoprophylaxis for the Prevention of Infectious Diseases,” October 7, 2013, further states the

Military Service policy concerning immunizations follows the recommendations of the CDC,

ACIP, and the prescribing information on the manufacturer’s package inserts, unless there is a

military-relevant reason to do otherwise. This document also describes general examples of

medical exemptions, which include “evidence of immunity based on serologic tests, documented

infection, or similar circumstances.” Some interpret this as a diagnosis of COVID-19 disease

and/or results of a COVID-19 serologic test means that a medical exemption should be granted.

However, of significance is the phrase “evidence of immunity.” CDC defines immunity as

“protection from an infectious disease. If you are immune to a disease, you can be exposed to it

without becoming infected.” 19 There are two major types of testing available for COVID-19:

diagnostic tests, which assess for current infection, and antibody tests, which assess for antibody

production, which is indicative of past infection and (in some tests) a history of vaccination. The

FDA states, “Antibody tests should not be used to diagnose a current SARS-CoV-2 infection or

COVID-19 and, at this time, should also not be used to check for immunity. More research is

needed to determine what, if anything, antibody tests can tell us about a person’s immunity.” 20 As

described below, lab tests for serology also state that it is unclear at this time if a positive antibody

result infers immunity against future COVID-19 infection.             Therefore, given the scientific

evidence available, a medical exemption based on the history of COVID-19 disease or serology




19
  https://www.cdc.gov/healthyschools/bam/diseases/vaccine-basics.htm, accessed February 16,
2022.
20
  https://www.fda.gov/consumers/consumer-updates/coronavirus-disease-2019-testing-basics,
accessed March 6, 2022.



                                                   17
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results does not meet “evidence of immunity”. The presence of antibodies is not the same thing

as being immune.

       20.     The CDC states that “COVID-19 vaccination is recommended for everyone aged 5

years and older, regardless of a history of symptomatic or asymptomatic SARS-CoV-2 infection.

This includes people with prolonged post-COVID-19 symptoms and applies to primary series

doses and booster doses. This recommendation also applies to people who experience SARS-

CoV-2 infection before or after receiving any COVID-19 dose… Current evidence demonstrates

a robust immune response to vaccination after infection, but information is lacking about whether

and how the amount of time since infection affects the immune response to vaccination. Growing

epidemiologic evidence from adults and adolescents indicates that vaccination following infection

further increases protection from subsequent infection, including in the setting of increased

circulation of more infectious variants. Viral testing to assess for acute SARS-CoV-2 infection

or serologic testing to assess for prior infection is not recommended for the purpose of vaccine

decision-making” 21.

       21.     Further, CDC states “antibody testing is not currently recommended to assess the

need for vaccination in an unvaccinated person or to assess immunity to SARS-CoV-2 following

COVID-19 vaccination. If antibody testing was done, vaccination with the primary series, an

additional dose, or a booster dose should be completed as recommended regardless of the antibody

test result.   SARS-CoV-2 antibody tests currently authorized under an Emergency Use

Authorization have variable performance characteristics and limitations. Furthermore, serologic




21https://www.cdc.gov/vaccines/covid-19/clinical-considerations/covid-19-vaccines-
us.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fvaccines%2Fcovid-19%2Finfo-
by-product%2Fclinical-considerations.html, accessed March 6, 2022



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correlates of protection have not been established and antibody testing does not evaluate the

cellular immune response” 22

       22.     Although natural infection for some diseases, in some cases, can result in long-

standing immunity (e.g., measles), there is risk of untoward outcomes from the disease itself,

which can be chronic or even fatal. Examples include Pneumonia or invasive group B Strep from

chickenpox, meningitis or epiglottitis from Haemophilis influenza type B, birth defects from

rubella, liver cancer from Hepatitis B, and death from measles.

       23.     Examples of natural infections that do not mount long-standing immunity include,

in addition to COVID-19, Influenza, Respiratory Syncytial Virus, Malaria, Whooping cough, and

rotavirus. In other words, re-infection is possible. Multiple serotypes of a pathogen like influenza,

pneumococcus, and possibly with the COVID-19 variants, also make determination of a protective

serologic level more difficult, especially to say there is lifelong immunity.

       24.     “Herd immunity” is an epidemiologic concept that explains how a community may

be protected from an infectious disease that is human-to-human transmitted. 23- 24 Herd immunity

can be achieved through vaccination or through natural infection, if enough individuals 1) survive

the disease and 2) mount a life-long immune response.             Safe and effective vaccines are

unequivocally considered the safer approach to a vaccine-preventable disease as compared to the



22
  https://www.cdc.gov/vaccines/covid-19/clinical-considerations/covid-19-vaccines-
us.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fvaccines%2Fcovid-19%2Finfo-
by-product%2Fclinical-considerations.html, accessed March 6, 2022.
23
  Desai AN, Majumder MS. What Is Herd Immunity? JAMA. 2020;324(20):2113.
doi:10.1001/jama.2020.20895
24
  McDermott A. Core Concept: Herd immunity is an important-and often misunderstood-public
health phenomenon. Proc Natl Acad Sci U S A. 2021;118(21):e2107692118.
doi:10.1073/pnas.2107692118



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unpredictable response that an individual may have to exposure to disease, as described above.

When a large proportion of a community is immune, vulnerable members of the community are

indirectly protected because their chance of infection exposure is very low. Herd immunity does

not eliminate risk, but the phenomenon means that population risk is greatly reduced. Herd

immunity is only possible when humans are the only source of infection transmission, when

immunity can be clearly established to prevent lifelong infection and transmission, and when an

adequate proportion of the population can safely develop immunity to protect all others. Measles

(rubeola virus infection) is a classic example of the successful application of the concept of herd

immunity. It is important to recognize that there is no disease where a vaccination program would

cease once a certain level of immunity is reached, unless the disease is considered eradicated (i.e.

smallpox in humans). Children continue to receive routine immunizations for diseases that we

have not seen in this country for many years (i.e., polio) or rarely see (i.e. epiglottitis from

Haemophilus influenza) so the vaccine preventable disease does not resurge. The Department of

Defense vaccine program follows these same principles.

       25.     The percentage of the population needing to be immune to drive herd immunity

varies from disease to disease. Generally, the more contagious a disease is, the greater proportion

of the population needs to be immune to stop its spread. For example, with regards to the highly

contagious measles disease, approximately 95% immunity within a population is needed to

interrupt the chain of transmission. When the immunity levels of a population falls, local outbreaks

can, and have, occurred. In 2019, 1,282 individual cases of measles were confirmed in 31 states,




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the highest level since 1992. The majority of those cases were among those who were not

vaccinated. 25,26

         26.     This herd immunity threshold – the level above which the spread of disease will

decline – is currently unknown for COVID-19. As described above, in order to interpret an

antibody response as it pertains to immunity, a correlate of protection (i.e. what antibody result do

I need to be considered immune?) must be determined and validated. No FDA antibody test has

validated a correlate of protection at this time and none of them are licensed. Nonetheless, it is

generally agreed that the more severe the COVID-19 disease is in an individual, the more

antibodies a survivor would produce and therefore likely would have a higher degree of protection

and possibly be protected longer than those who are asymptomatic or with mild symptoms.

         27.     Those who receive the COVID-19 vaccine contribute to the information available

from studying the outcomes from 553 million doses administered in the US and over the 10.85

billion doses administered globally. 27 Responses to vaccination are more consistent and there is

minimal risk compared to the potential long-term complications and treatments needed to treat

COVID-19 disease. Although breakthrough infections do occur depending on the circulating

variant and the longer the interval from vaccination, vaccines (especially when a booster is also

received) remain highly effective in preventing hospitalizations and death. 28



25
     https://www.cdc.gov/measles/cases-outbreaks.html, accessed March 6, 2022.
26
     https://www.cdc.gov/mmwr/volumes/68/wr/pdfs/mm6840e2-H.pdf, accessed March 6, 2022.
27
  https://ourworldindata.org/covid-vaccinations?country=OWID_WRL, accessed March 6,
2022.
28
  Ferdinands JM, et al Waning 2-Dose and 3-Dose Effectiveness of mRNA Vaccines Against
COVID-19-Associated Emergency Department and Urgent Care Encounters and
Hospitalizations Among Adults During Periods of Delta and Omicron Variant Predominance –
VISION Network, 10 States, August 2021-January 2022. MMWR Morb Mortal Wkly Rep


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       28.       In October 2021, prior to the presentation of the Omicron variant, the newest

SARS-CoV2 variant of concern, CDC summarized a review of 96 peer-reviewed and preprint

publications, providing an overview of current scientific evidence regarding infection-induced

immunity. 29 Key findings include the following:


       Available evidence shows that fully vaccinated individuals and those previously infected

       with SARS-CoV-2 each have a low risk of subsequent infection for at least 6 months. Data

       are presently insufficient to determine an antibody titer threshold that indicates when an

       individual is protected from infection. At this time, there is no FDA-authorized or

       approved test that providers or the public can use to reliably determine whether a person is

       protected from infection.

             o   The immunity provided by vaccine and prior infection are both high but not

                 complete (i.e., not 100%).

             o   Multiple studies have shown that antibody titers correlate with protection at a

                 population level, but protective titers at the individual level remain unknown.

             o   Whereas there is a wide range in antibody titers in response to infection with SARS-

                 CoV-2, completion of a primary vaccine series, especially with mRNA vaccines,

                 typically leads to a more consistent and higher-titer initial antibody response.

             o   For certain populations, such as the elderly and immunocompromised, the levels of

                 protection may be decreased following both vaccination and infection.




2022:71:1-9 https://www.cdc.gov/mmwr/volumes/71/wr/mm7107e2.htm, accessed February 16,
2022.
29
  https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/vaccine-induced-
immunity.html, accessed March 6, 2022.


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              o   Current evidence indicates that the level of protection may not be the same for all

                  viral variants.

              o   The body of evidence for infection-induced immunity is more limited than that for

                  vaccine-induced immunity in terms of the quality of evidence (e.g., probable bias

                  towards symptomatic or medically-attended infections) and types of studies (e.g.,

                  observational cohort studies, mostly retrospective versus a mix of randomized

                  controlled trials, case-control studies, and cohort studies for vaccine-induced

                  immunity). There are insufficient data to extend the findings related to infection-

                  induced immunity at this time to persons with very mild or asymptomatic infection

                  or children.


        29.       Debate continues about whether natural immunity versus vaccine-induced

     immunity is more protective against breakthrough infections (a reinfection in someone who

     was previously infected versus an infection in a previously not infected individual who was

     fully immunized). A frequently cited, though not peer-reviewed, retrospective study from

     Israel found that the rates of SARS-CoV-2 breakthrough infections in vaccinated individuals,

     while very low (highest rate = 1.5%) were 13 times higher than the rates of reinfection and

     hospitalization in previously infected individuals 30. These findings have not been reproduced

     in a peer-reviewed or prospective publication. However, an observational study, 31 also out of

     Israel, compared adverse events in Pfizer-BioNTech vaccinated versus unvaccinated




30
  https://www.medrxiv.org/content/10.1101/2021.08.24.21262415v1, last accessed March 6,
2022.
31
  Barda N, et al. Safety of the BNT162b2 mRNA COVID-19 Vaccine in a Nationwide Setting
N Engl J Med 2021; 385:1078-1090.


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   individuals in addition to those who had a history of COVID-19 disease versus those who did

   not. As previously identified in multiple studies, vaccination with an mRNA vaccine like

   Pfizer-BioNTech was associated with an elevated risk of myocarditis compared to those

   unvaccinated (risk difference 2.7 events/100,000 people). However, when assessing the

   relative risk in those with a history of COVID-19 disease with those who did not have

   disease, the risk of myocarditis was substantially higher in those who had COVID-19 disease

   (risk difference of 11 events/100,000 persons). The risk difference is calculated as the

   difference between the observed risks in the two groups.




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                                       The Omicron variant


         30.    On November 26, 2021, the World Health Organization (WHO) designated the

Omicron variant (Pango lineage B.1.1.529), first identified in November 2021 in Botswana and

South Africa, a “variant of concern” upon recommendations of the Technical Advisory Group on

SARS-CoV-2 Virus Evolution, which assesses if specific mutations and combinations of

mutations alter the behavior of the virus. 32 The United States designated Omicron as a variant of

concern on November 30, 2021, and following first detection in the United States on December 1,

2021, it has been found to spread more easily than the original and Delta variants. 33 Those infected

with the Omicron variant in South Africa were initially reported in the media as not having severe

outcomes and therefore concluding that this would be a “mild” variant. In attempt to address that

misconception, on January 6, 2022, Dr. Tedros Adhanom Ghebreyesus, the WHO Director-

General, stated that “while Omicron does appear to be less severe compared to Delta, especially

in those vaccinated, it does not mean it should be categorized as ‘mild’. Hospitals are becoming

overcrowded and understaffed, which further results in preventable deaths from not only COVID-

19 but other diseases and injuries where patients cannot receive timely care. First-generation

vaccines may not stop all infections and transmission but they remain highly effective in reducing

hospitalization and death from this virus.” 34




32
  https://www.who.int/news/item/26-11-2021-classification-of-omicron-(b.1.1.529)-sars-cov-2-
variant-of-concern, last accessed March 6, 2022.
33
 https://www.cdc.gov/coronavirus/2019-ncov/variants/omicron-variant.html, last accessed
March 6, 2022.
34
     https://twitter.com/WHO/status/1479167003109859328, posted January 6, 2022.


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       31.     The Omicron variant has approximately 32 mutations on the spike (S) protein with

approximately 15 of the 32 occurring within the receptor binding domain (RBD). The RBD is

what the virus uses to bind to our cells and initiate viral infection process. Antibodies produced

from previous infection or vaccination, as well as the monoclonal antibodies (mAb) given to treat

those infected, target the RBD. The degree to which antibodies bind or “neutralize” the virus,

determines the degree of resultant illness – the better antibodies bind, the less likely a person will

become ill. This is why any mutation on the S protein RBD would cause concerns about the

efficacy of existing vaccines, antibodies produced from previous infection, and the mAb given to

treat people in preventing Omicron infection. One study, using an artificial intelligence (AI)

model, revealed that “Omicron may be over 10 times more contagious than the original virus or

about 2.8 times as infectious as the Delta variant.” 35

       32.     Multiple investigators turned their attention to assessing the effectiveness of

antibodies following COVID-19 disease and current vaccines against Omicron. One study

assessed the neutralization of 9 monoclonal antibodies (mAb), sera from 34 COVID-19 vaccine

(Pfizer or Astra Zeneca) primary series recipients who had not previously been infected, sera from

20 recipients who had received a Pfizer-BioNTech booster dose, and sera from 40 convalescent

sera (blood serum obtained from individuals who had a history of infection) donors, 22 of whom

had also been vaccinated. 36     The better the neutralization, the better the protection. Results

showed that Omicron was totally or partially resistant to neutralization by all mAbs tested. Sera




35
  Chen J, et al. Omicron Variant (B.1.1.529): Infectivity, Vaccine Breakthrough, and Antibody
Resistance J. Chem. Inf. Model. 2022, 62, 2, 412-422 https://doi.org/10.1021/acs.jcim.1c01451.
36
  Planas, D. et al. Considerable escape of SARS-CoV-2 Omicron to antibody neutralization.
Nature https://doi.org/10.1038/s41586-021-04389-z (2021).



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from those vaccinated, sampled 5 months after being fully vaccinated, had limited inhibition of

Omicron. Blood sera from those with a history of COVID-19 disease demonstrated no or low

neutralizing activity against Omicron. Those who received a booster COVID-19 vaccine dose did

generate an anti-Omicron neutralizing response, though lower than what has been seen against the

Delta variant. A second study 37 also demonstrated that those who had a history of infection and

were fully vaccinated (whether disease then vaccinated or vaccinated then disease (i.e., a

breakthrough infection) were better able to neutralize the Omicron variant as compared to those

who had only a history of disease or had a history of being fully vaccinated. An additional small

study investigated the neutralizing activity of sera from convalescent patients, mRNA double

vaccinated (BNT162b2 = Pfizer-BioNTech; mRNA-1273 = Moderna), mRNA boosted,

convalescent double vaccinated, and convalescent boosted individuals against the original SARS-

CoV-2 strain, Beta variant (B.1.351), and Omicron (B1.1.529) variant in a laboratory (in vitro)

setting. 38 In the figures depicted below, Figures 1c–1j provide the results of different combinations

of sera studied. What would be interpreted as the “best” combination to work against the Omicron

variant is the highest level of red dots on the y-axis seen with the B.1.1.529 on the x-axis. For

example, Figure 1c shows the results of those individuals with a history of COVID-19 disease. In

an oversimplified interpretation, Figure 1c shows that those with a history of COVID-19 disease

had no measurable neutralizing activity for Omicron. In Figures 1d and 1e, (2 doses of either

Pfizer-BioNTech or Moderna), there is some neutralization against Omicron. Those who received




37
  Rossler A., et al SARS-CoV-2 Omicron Variant Neutralization in Serum from Vaccinated and
Convalescent Persons NEJM, published January 12, 2022 doi:10.1056/NEJMc2199236.
38
 Carreno, J.M. et al. Activity of convalescent and vaccine serum against SARS-CoV-2
Omicron. Nature https://doi.org/10.1038/s41586-022-04399-5 (2021).



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a booster (Figure 1f and 1g) had higher levels of neutralization against Omicron compared to the

two-dose primary series. Those who had a history of disease and were then vaccinated with a two-

dose primary series or a two-dose primary series and a booster (Figures 1h-1j) had better Omicron

neutralization. In summary, the study found that neutralizing activity against Omicron “is most

impacted in unvaccinated, convalescent individuals and in naïve individuals who acquired

immunity through two mRNA COVID-19 vaccine doses” and that “boosted individuals had, at

least within the short time after the booster dose, significant protection against symptomatic

disease in the range of 75%.” 39




39
     Id. at 2.


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         33.   An additional study 40 assessed the neutralizing potency of sera from 88 mRNA-

1273 (Moderna), 111 BNT162b (Pfizer-BioNTech), and 40 Ad26.COV2.S (Janssen) vaccine

recipients against wild-type, Delta, and Omicron COVID-19 variants, based on recent

vaccination, distant vaccination (6-12 months), history of infection and distant vaccination, and

recent booster vaccination, as depicted below.




         34.   Against the Omicron variant, recent (< 3 months) vaccine recipients exhibited a

43-fold lower neutralization than against the wild type (WT) strain. Those with a history of

vaccination and infection had a 9-fold decrease in neutralization than WT, whereas those who

received a booster dose less than 3 months ago had a 6-fold decrease in neutralization compared

to WT.




40
  Garcia-Beltran WF, et al mRNA-based COVID-19 vaccine boosters induce neutralizing
immunity against SARS-CoV-2 Omicron variant. Cell 185, 1-10..


                                                 30
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       35.    Similar results were seen in Pfizer-BioNTech recipients, with the best protection

against Omicron seen in those who recently received a booster dose.




       36.    Of the three vaccines, Janssen recipients had the least neutralization against the

Omicron variant, with those who recently received a booster dose demonstrating a 13-fold

decrease in neutralization as compared to the WT.




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       37. Finally, two recent CDC publications described vaccine effectiveness during periods

of Delta and Omicron dominance. The first study evaluated the benefit of a third COVID-19

vaccine dose in those who were and were not immunocompromised between August and

December 2021. In those who were not immunocompromised vs immunocompromised, vaccine

effectiveness (VE) was 82% and 69%, respectively, in those who were fully vaccinated and 97%

and 88%, respectively in those who had received 3 doses of COVID-19 vaccine 41. The second

publication reported on the waning 2- and 3-dose effectiveness of mRNA vaccines against

COVID-19 associated emergency department (ED) and urgent care (UC) encounters and

hospitalizations among adults during Delta and Omicron between August 2021 and January 2022.

During the Delta period, those who sought ED or UC care and received 2 doses versus 3 doses of

a mRNA vaccine had an overall VE of 80% and 96%, respectively. Of those admitted to the

hospital, COVID-19 vaccine VE was 85% and 95%, respectively. During the Omicron period,



41
   Tenforde MW, et al Effectiveness of a Third Dose of Pfizer-BioNTech and Moderna Vaccines
in Preventing COVID-19 Hospitalization Among Immunocompetent and Immunocompromised
Adults – United States, August-December 2021 MMWR Morb Mortal. Wkly Rep 2022;71(4)
:118-121. DOI: https://www.cdc.gov/mmwr/volumes/71/wr/mm7104a2.htm



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those who sought ED or UC care and received 2 doses versus 3 doses of a mRNA vaccine had an

overall VE of 41% and 83%, respectively. Those who were admitted to the hospital demonstrated

overall VE of 55% and 88%, respectively 42. Although there was a noticeable decrease in VE

during the Omicron period, comparatively mRNA COVID-19 vaccine VE is higher than annual

influenza vaccine, where VE ranged between 29-48% over the last 5 seasons. 43

       38.    In contrast to the above studies, the CDC recently published a study examining the

impact of primary COVID-19 vaccination and previous SARS-CoV-2 infection on COVID-19

incidence and hospitalization rates from California and New York. 44 The findings demonstrated

that prior to Delta variant, being vaccinated with or without a history of COVID-19 resulted in

lower incidence of laboratory-confirmed COVID-19 disease and hospitalizations as compared to

those who were unvaccinated with a history of disease. However, after the Delta variant became

dominant, those with a history of COVID-19 disease, with or without a history of vaccination, had

a lower incidence of laboratory-confirmed COVID-19 disease than those who were vaccinated

without a history of COVID-19. Excluded in the study was discussion of severity of COVID-19

disease and outcomes of those who had disease (complications, etc). CDC concludes with

reminding readers that more than 130,000 California and New York residents died from COVID-



42
  Ferdinands JM, et al. Waning 2-Dose and 3-Dose Effectiveness of mRNA Vaccines Against
COVID-19-Associated Emergency Department and Urgent Care Encounters and
Hospitalizations Among Adults During Periods of Delta and Omicron Variant Predominance –
VISION Network, 10 States, August 2021-January 2022. MMWR Morb Mortal. Wkly Rep
2022;71:1-9. DOI: https://www.cdc.gov/mmwr/volumes/71/wr/mm7107e2.htm.
43
  https://www.cdc.gov/flu/vaccines-work/past-seasons-estimates.html, last accessed March 6,
2022.
44
   Leon TM, Dorabawila V., Nelso L, et al. COVID-19 Cases and Hospitalizations by COVID-
19 Vaccination Status and Previous COVID-19 Diagnosis – California and New York, May-
November 2021. MMWR Morb Mortal. Wkly Rep 2022;71:125-131. DOI:
http://dx.doi.org/10.15585/mmwr.mm7104e1.


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19 through November 30, 2021, and that “vaccination remains the safest and primary strategy to

prevent SARS-CoV-2 infections, associated complications, and onward transmission.”

       39.     Clinical data of DoD breakthrough rates and hospitalizations as of January 20,

2022, taking into account the prior 6 weeks (where 78.8% of all breakthrough cases were seen)

revealed the following results: Of the 1,578,364 active duty fully vaccinated individuals without

a booster dose, 116,513 (7.38%) had a breakthrough infection. The hospitalization rate in active

duty after full vaccination without a booster was 12 per 100,000 active duty service members. Of

those active duty service members who were unvaccinated, the hospitalization rate was 782 per

100,000. Those who were unvaccinated had a higher percentage of critical and severe disease.

       40.     In summary, unvaccinated persons without a history of COVID-19 are most

vulnerable to COVID-19 disease. Vaccination was highly effective against the initial SARS-CoV-

2 strain it was developed to protect against. The longer the interval from vaccination, the increased

risk for breakthrough disease, although vaccination continues to be protective against severe

disease, hospitalization, and death. Vaccination and a history of disease was shown to be less

protective than vaccination and booster dose against both the Delta and Omicron variants.

Clinically, breakthrough infections during the time of Omicron dominance have been increasingly

seen in those fully vaccinated.       Hospitalization rates during Omicron dominance in the

unvaccinated active duty population was 65 times higher than the hospitalization rate in those fully

vaccinated without a booster. CDC states “primary COVID-19 vaccination, additional doses, and

booster doses are recommended by CDC’s Advisory Committee on Immunization Practices to

ensure that all eligible persons are up to date with COVID-19 vaccine, which proves the most




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robust protection against initial infection, severe illness, hospitalization, long-term sequelae, and

death.” 45

                                 Risks from COVID-19 Vaccination

        41.      Risks from immunization, including COVID-19 vaccines are rare. CDC provides

routine updates on specific adverse events temporally associated with COVID-19 vaccines. 46

CDC updates as of March 1, 2022, include the following:

        A. Anaphylaxis after COVID-19 vaccination is rare and has occurred in approximately

              5 people per million vaccinated in the United States.

        B. Thrombosis with thrombocytopenia syndrome (TTS) after Johnson & Johnson’s

              Janssen (J&J/Janssen) COVID-19 vaccination is rare. As of February 24, 2022,

              more than 18.4 million doses of the J&J/Janssen COVID-19 Vaccine have been given

              in the United States. CDC and FDA identified 57 confirmed reports of people who got

              the J&J/Janssen COVID-19 Vaccine and later developed TTS. Women 30-49 years of

              age, especially, should be aware of the rare but increased risk of this adverse event.

              There are other COVID-19 vaccine options available for which this risk has not been

              seen.

        C. Guillain-Barre Syndrome - CDC and FDA are monitoring reports of Guillain-Barré

              Syndrome (GBS) in people who have received the J&J/Janssen COVID-19 Vaccine.

              GBS is a rare disorder where the body’s immune system damages nerve cells, causing


45
   Leon TM, Dorabawila V., Nelso L, et al. COVID-19 Cases and Hospitalizations by COVID-
19 Vaccination Status and Previous COVID-19 Diagnosis – California and New York, May-
November 2021. MMWR Morb Mortal. Wkly Rep 2022;71:125-131. DOI:
http://dx.doi.org/10.15585/mmwr.mm7104e1.
46
 https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/adverse-events.html, last accessed
March 6, 2022.



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          muscle weakness and sometimes paralysis. Most people fully recover from GBS, but

          some have permanent nerve damage. After more than 18.4 million J&J/Janssen

          COVID-19 Vaccine doses administered, there have been around 303 preliminary

          reports of GBS identified in VAERS as of February 24, 2022. These cases have largely

          been reported about 2 weeks after vaccination and mostly in men, many 50 years and

          older. CDC will continue to monitor for and evaluate reports of GBS occurring after

          COVID-19 vaccination and will share more information as it becomes available.

       D. Myocarditis and pericarditis after COVID-19 vaccination are rare. As of February

          24, 2022, VAERS has received 2,261 reports of myocarditis or pericarditis among

          people ages 30 years and younger who received COVID-19 vaccines. Most cases have

          been reported after mRNA COVID-19 vaccination (Pfizer-BioNTech or Moderna),

          particularly in male adolescents and young adults. Through follow-up, including

          medical record reviews, CDC and FDA have confirmed 1,328 reports of myocarditis

          or pericarditis.

       E. Reports of death after COVID-19 vaccination are rare. More than 553 million

          doses of COVID-19 vaccines were administered in the United States from December

          14, 2020, through February 22, 2022. During this time, VAERS received 12,775 reports

          of death (0.0023%) among people who received a COVID-19 vaccine. FDA requires

          healthcare providers to report any death after COVID-19 vaccination to VAERS, even

          if it’s unclear whether the vaccine was the cause. Reports of adverse events to

          VAERS following vaccination, including deaths, do not necessarily mean that a

          vaccine caused a health problem. A review of available clinical information,

          including death certificates, autopsy, and medical records, has not established a causal




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                 link to COVID-19 vaccines. CDC has identified nine deaths that have been caused by

                 or were directly attributed to TTS following J&J/Janssen COVID-19 vaccination.

           42.      Additionally, on October 27 2021, the COVID-19 subcommittee of the WHO

           Global Advisory Committee on Vaccine Safety (GACVS) provided an updated statement

           regarding myocarditis and pericarditis reported with COVID-19 mRNA vaccines, stating,

           in part: The GACVS COVID-19 subcommittee notes that myocarditis can occur following

           SARS-CoV-2 infection (COVID-19 disease) and that mRNA vaccines have clear benefit

           in preventing hospitalisation and death from COVID-19. Countries should continue to

           monitor reports of myocarditis and pericarditis following vaccination by age, sex, dose and

           vaccine brand. Countries should consider the individual and population benefits of

           immunization relevant to their epidemiological and social context when developing their

           COVID-19 immunisation policies and programs. 47


                                          COVID-19 Antibody Tests


     43.            As described above, testing to assess for acute SARS-CoV-2 infection or serologic

testing to assess for prior infection is not recommended for the purposes of vaccine decision-

making.          Last updated December 3, 2021, the FDA’s EUA Authorized Serology Test

Performances 48 lists approximately 90 products, of which all of them had one of the following

three statements about immunity interpretation:



47
  https://www.who.int/news/item/27-10-2021-gacvs-statement-myocarditis-pericarditis-covid-
19-mrna-vaccines-updated, last accessed March 6, 2022.
48
   https://www.fda.gov/medical-devices/coronavirus-disease-2019-covid-19-emergency-use-
authorizations-medical-devices/eua-authorized-serology-test-performance, last accessed March
6, 2022.



                                                   37
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      A. “You should not interpret the results of this test as an indication or degree of immunity or

         protection from reinfection.” 49

      B. “It is unknown how long antibodies to SARS-CoV-2 will remain present in the body after

         infection and if they confer immunity to infection. Incorrect assumptions of immunity may

         lead to premature discontinuation of physical distancing requirements and increase the risk

         of infection for individuals, their households and the public.” 50

      C. “It is unknown how long (IgA, IgM or IgG) antibodies to SARS-CoV-2 will remain present

         in the body after infection and if they confer immunity to infection. A positive result for

         XXX test may not mean that an individual’s current or past symptoms were due to COVID-

         19 infection.” 51



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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct to the best of my knowledge.

         Executed on March 6, 2022, in Falls Church, Virginia




                                                    Tonya S. Rans
                                                    Colonel, Medical Corps, U.S. Air Force
                                                    Chief, Immunization Healthcare Division
                                                    Public Health Directorate
                                                    Falls Church, Virginia




49
     https://www.fda.gov/media/146369/download, last accessed March 6, 2022.
50
     https://www.fda.gov/media/138627/download, last accessed March 6, 2022.

51
     https://www.fda.gov/media/137542/download, last accessed March 6, 2022.


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